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 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )         1:06CR00299 AWI
                                    )
12                  Plaintiff,      )
                                    )
13        v.                        )         FINAL ORDER OF FORFEITURE
                                    )
14   KEITH DAVID GOODWIN,           )
      aka Mark Greenburg,           )
15                                  )
                    Defendant.      )
16   _______________________________)
17        WHEREAS, on or about April 2, 2008, this Court entered an
18   Amended Preliminary Order of Forfeiture pursuant to the provisions
19   of 18 U.S.C. § 982(a)(2)(B), based upon the jury conviction entered
20   against defendant Keith David Goodwin forfeiting to the United
21   States the following property:
22              a.    Approximately $589.02 in U.S. Currency.
23        AND WHEREAS, beginning on April 17, 2008, for at least 30
24   consecutive days, the United States published notice of the Court’s
25   Amended Order of Forfeiture on the official internet government
26   forfeiture site www.forfeiture.gov.       Said published notice advised
27   all third parties of their right to petition the court within sixty
28   (60) days from the first day of publication of the notice for a
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 1   hearing to adjudicate the validity of their alleged legal interest
 2   in the forfeited property;
 3        AND WHEREAS, the Court has been advised that no third party
 4   has filed a claim to the subject property and the time for any
 5   person or entity to file a claim has expired.
 6        Accordingly, it is hereby ORDERED and ADJUDGED:
 7        1.      A Final Order of Forfeiture shall be entered forfeiting
 8   to the United States of America all right, title, and interest in
 9   the above-listed property pursuant to 18 U.S.C. § 982(a)(2)(B), to
10   be disposed of according to law, including all right, title, and
11   interest of Keith David Goodwin.
12        2.      All    right,    title,   and   interest   in   the   above-listed
13   property shall vest solely in the name of the United States of
14   America.
15        3.      The U.S. Marshals Service shall maintain custody of and
16   control over the subject property until it is disposed of according
17   to law.
18
19   IT IS SO ORDERED.
20   Dated:    December 23, 2008                /s/ Anthony W. Ishii
     0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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